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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

  DOE et al,                                                     )
  Plaintiff,                                                     )
                                                                 ) No. 3:22-CV-00049
  v.                                                             )
                                                                 )
  MAST et al,                                                    )
  Defendant.                                                     )
                                                                 )

            MOTION FOR PRO HAC VICE ADMISSION OF DAMON PORTER

        I, Maya M. Eckstein, as an attorney admitted to practice in this Court and as counsel of

 record in the instant proceeding, hereby move this Court pursuant to United States District

 Court for the Western District of Virginia Local Rule 6(d) for an Order granting Damon Porter of

 Latham & Watkins LLP leave to appear pro hac vice for the purpose of appearing as counsel on

 behalf of Plaintiffs in this case. Mr. Porter is an active member in good standing and currently

 eligible to practice law in the District of Columbia (D.C. Bar No. 1617529). In support of this

 motion, Mr. Porter’s declaration is attached hereto as Exhibit A.

        WHEREFORE, the undersigned counsel respectfully requests that the Court enter an

 Order granting Damon Porter leave to appear pro hac vice in this case.

 Respectfully submitted,

 November 15, 2022                                    /s/ Maya Eckstein_
                                                      Maya M. Eckstein (VSB No. 41413)
                                                      HUNTON ANDREWS KURTH LLP
                                                      951 E. Byrd St
                                                      Richmond, VA 23219
                                                      Telephone: (804) 788-8200
                                                      Fax: (804) 788-8218
                                                      Email: meckstein@HuntonAK.com
                                                      Attorneys for Plaintiffs
